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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

UNITED STATES OF AMERICA

       v.
                                 Violations: Title 18, United States Code,
DIONTAE HARPER, a/k/a “Chubbs,”  Sections 1959(a)(1) and 2
AMONTI McCLURE, a/k/a “Monti” or
“Lil Monti Bucks”


      The SPECIAL NOVEMBER 2022 GRAND JURY charges:

      At times material to this Indictment:

      1.     Defendants DIONTAE HARPER, a/k/a “Chubbs,” AMONTI McCLURE,

a/k/a “Monti” or “Lil Monti Bucks,” Keshawn Wordlow, and others known and

unknown to the Grand Jury were members and associates of the Faceworld street

gang, a criminal organization whose members and associates engaged in acts of

violence, including, but not limited to, acts involving murder, assault with a

dangerous weapon, assault resulting in serious physical injury, and possession with

intent to distribute, and the distribution of, controlled substances, and which

operated on the South Side of Chicago, in the Northern District of Illinois, Eastern

Division, and elsewhere.

      2.     The Faceworld Enterprise, including its leaders, members, and

associates, constituted an enterprise as defined in Title 18, United States Code,

Section 1959(b)(2), namely, a group of individuals associated in fact, which was

engaged in, and the activities of which affected, interstate and foreign commerce. The

Faceworld Enterprise constituted an ongoing organization whose members
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functioned as a continuing unit for a common purpose of achieving the objectives of

the enterprise.

      3.     The Faceworld Enterprise engaged in a longstanding and violent feud

with several rival street gangs, including “Wuga World,” “Disciples of David” also

known as “DOD,” and “900,” among others. Over the course of these conflicts,

Faceworld enterprise members and associates committed acts of violence against

their rivals, inside areas controlled by rival street gangs, and in areas in which

Faceworld members believed their rivals were present.

      4.     The purposes of the enterprise included, but were not limited to, the

following:

             a.     Acquiring,    preserving,    and    protecting    power,    territory,

operations, and proceeds for the enterprise through the use of threats, intimidation,

and violence, including, but not limited to, murder and other acts of violence, and the

illegal trafficking in controlled substances;

             b.     Promoting and enhancing the enterprise and its members’ and

associates’ activities, including by publicly claiming responsibility for acts of violence

committed by the enterprise and taunting rival gang members;

             c.     Keeping victims, rival gang members, and witnesses in fear of the

enterprise and its leadership, members, and associates through acts and threats of

violence;

             d.     Increasing the status of the enterprise through the use of social

media platforms and producing and marketing songs, music recordings, and music

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videos; and

                e.     Preventing law enforcement’s detection of the enterprise’s

criminal activities.

       5.       At times relevant to this Indictment, the Faceworld Enterprise, through

its members and associates, engaged in racketeering activity, as defined in Title 18,

United States Code, Sections 1959(b)(1) and 1961(1), namely:

                a.     Acts involving murder, in violation of the laws of the State of

Illinois; and

                b.     Offenses involving the possession with intent to distribute and

the distribution of controlled substances, in violation of Title 21, United States Code,

Sections 841(a)(1) and 846.

       6.       On or about May 13, 2020, at Chicago, in the Northern District of

Illinois, Eastern Division, and elsewhere,

                     DIONTAE HARPER, a/k/a “Chubbs,” and
                AMONTI McCLURE, a/k/a “Monti” and “Lil Monti Bucks,”

defendants herein, together with Keshawn Wordlow and others known and unknown

to the Grand Jury, for the purpose of maintaining and increasing position in

Faceworld, an enterprise engaged in racketeering activity, did knowingly commit the

murder of Paul Harris, in violation of the laws of the State of Illinois (Chapter 720,

Illinois Compiled Statutes, Sections 5/9-1(a), 5/5-1, and 5/5-2);

       In violation of Title 18, United States Code, Section 1959(a)(1) and 2.




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                         NOTICE OF SPECIAL FINDINGS

      1.     The allegations set forth in Paragraphs 1 through 6 of the Indictment

are incorporated here.

      2.     The defendants DIONTAE HARPER and AMONTI McCLURE:

             a.     Were eighteen years of age or older at the time of the offense (Title

18, United States Code, Section 3591(a)(2));

             b.     Intentionally participated in an act, contemplating that the life of

a person would be taken and intending that lethal force would be used in connection

with a person, other than one of the participants in the offense, and the victim died

as a direct result of the act (Title 18, United States Code, Section 3591(a)(2)(C));

             c.     Intentionally and specifically engaged in an act of violence,

knowing that the act created a grave risk of death to a person, other than one of the

participants in the offense, such that participation in the act constituted a reckless

disregard for human life and the victim died as a direct result of the act (Title 18,

United States Code, Section 3591(a)(2)(D));

             d.     In the commission of the offense, knowingly created a grave risk

of death to one or more persons in addition to the victim of the offense (Title 18,

United States Code, Section 3592(c)(5)); and




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               e.   Committed    the   offense   after   substantial   planning   and

premeditation to cause the death of a person (Title 18, United States Code, Section

3592(c)(9)).

      3.       The defendant DIONTAE HARPER:

               a.   Intentionally killed the victim, Paul Harris (Title 18, United

States Code, Section 3591(a)(2)(A)); and

               b.   Committed the offense in the expectation of the receipt of

anything of pecuniary value (Title 18, United States Code, Section 3592(c)(8)).




                                               A TRUE BILL:




                                               FOREPERSON




__________________________________________
ACTING UNITED STATES ATTORNEY




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